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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                Case No.: 16-10680
                                  Honorable Victoria A. Roberts
SIXTY-SIX THOUSAND THREE HUNDRED
SIXTY-NINE COLLARS ($66,369) IN U.S.
CURRENCY, ET AL.,

     Defendants in rem,
_________________________________________/

                   ORDER CONCERNING ATTORNEY’S LIEN

      Arthur Jay Weiss formerly represented Claimants Devenkumar Patel,

Amee Vinodbhai Patel, Amee Patel, the Rosetta Group, Inc., Metro Man 1,

Inc., and Canalis Medical Pharmacy. On March 4, 2020, he filed a motion

to withdraw as their counsel, citing a breakdown in the attorney-client

relationship. The Court granted his request. At the same time, Mr. Weiss

filed a Notice of Attorney’s Lien against the same group of clients in the

amount of Thirty-One Thousand Seven Hundred Ninety-Three and 93/100

Dollars ($31,793.93) for attorney fees, costs and expenses.

      This case is an in rem proceeding filed by the United States

stemming from the seizure by the Drug Enforcement Agency (“DEA”) of

various bank accounts. The Government alleges that all of these proceeds
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resulted from health care fraud in violation of federal law and are moneys

involved in money laundering transactions in violation of 18 U.S.C. § 1956

and/or § 1957. The Court sentenced Devenkumar Patel for Health Care

Fraud (18 U.S.C. § 1347) and Distribution of Controlled Substances (21

U.S.C. § 842(a)(1) and (B)(2)(A)).

      The United States has been involved in attempts to settle this case

and dismiss the Second Amended Complaint. If the Court approves the

settlement, the Government would return approximately $250,000 to the

Patel related entities.

      In early May, 2020, the parties submitted a proposed Stipulation for

Partial Dismissal of Complaint. Mr. Weiss objected to the proposal because

it did not preserve his notice of lien and did not prevent the distribution of

funds which could render his notice a nullity. Mr. Weiss filed Objections To

Entry of Stipulation and Order For Partial Dismissal of Case [ECF No. 81].

The Government filed its Objection to Counsel’s Lien [ECF No. 83]; Amee

Patel, Devenkumar Patel and all related entities filed a Statement Of Partial

Objection and Proposed Resolution Related to Attorney’s Lien [ECF No.

84]; and, Samuel Sweet, in his capacity as Bankruptcy Trustee, filed a

Limited Objection To Notice of Attorney’s Lien [ECF No. 82].




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      On Wednesday, December 30, 2020, the Court held a telephone

conference. Attending were: Julie Beck representing the Government;

Arthur Jay Weiss representing himself; Mohammed Abdrabboh

representing Amee and Devenkumar Patel and related entities; and,

Anthony Kochis representing the Bankruptcy Trustee.

      Based on the discussion held, the Court ORDERS:

      1. Any Stipulation for Dismissal entered into between the parties must

acknowledge the Notice of Attorney’s Lien filed by Mr. Weiss on March 4,

2020 and acknowledge his right to be paid for services rendered to the

Patels and related entities – first – out of whatever funds the Government

intends to pay to the Patels related entities as settlement in this litigation.

      2. As soon as the Stipulation for Dismissal is entered by the Court,

the Government must take steps to send the agreed upon amount to Mr.

Abdrabboh’s client trust account.

      3. Mr. Abdrabboh must first satisfy Mr. Weiss’s lien in the full amount

of $31,793.93 before disbursing funds to the Patels and/or related entities.

      4. Any Stipulation for Dismissal must acknowledge the Memorandum

of Understanding (“MOU”) entered into between the parties and the two

accounts which the Patels claim the DEA forfeited on which no notice of

claim was filed by Mr. Weiss when he served as their attorney.


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       5. Mr. Weiss must serve as a legal and fact witness and provide

information to Ms. Beck, explaining why no claims were filed on the two

accounts addressed in the MOU. Mr. Weiss must do this at no cost to the

Patels.

       6. Once Mr. Weiss meets with Ms. Beck, they must provide a Joint

Statement to Mr. Abdrabboh which contains all of the information and

documents he provided to Ms. Beck.

       7. Over the objection of Mr. Abdrabboh, upon receipt of the Joint

Statement, the Patels and related entities must provide a full and complete

release of liability to Mr. Weiss for the services he rendered them in this

litigation.

       ORDERED.


                                           s/ Victoria A. Roberts
                                           Victoria A. Roberts
                                           United States District Judge
Dated: 12/31/2020




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